                  Case 13-44045            Doc 42          Filed 08/31/22 Entered 08/31/22 09:54:03                                   Desc Main
                                                             Document     Page 1 of 9
Fill in this information to identify your case and this filing:

Debtor 1                 Sdahrie Howard
                         First Name                  Middle Name                    Last Name

Debtor 2
(Spouse, if filing)      First Name                  Middle Name                    Last Name


United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number           13-44045                                                                                                                 Check if this is an
                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   No. Go to Part 2.
   Yes. Where is the property?


Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   Yes

  3.1     Make:       Nissan                            Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Altima                             Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
          Year:       1999                               Debtor 2 only                                           Current value of the      Current value of the
          Approximate mileage:                           Debtor 1 and Debtor 2 only                              entire property?          portion you own?
          Other information:                             At least one of the debtors and another

                                                         Check if this is community property                              $2,000.00                    $2,000.00
                                                            (see instructions)



  3.2     Make:       Hyundai                           Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                  the amount of any secured claims on Schedule D:
          Model:      Sonata                             Debtor 1 only                                           Creditors Who Have Claims Secured by Property.
          Year:       2010                               Debtor 2 only                                           Current value of the      Current value of the
          Approximate mileage:                           Debtor 1 and Debtor 2 only                              entire property?          portion you own?
          Other information:                             At least one of the debtors and another

                                                         Check if this is community property                              $9,000.00                    $9,000.00
                                                            (see instructions)




Official Form 106A/B                                                Schedule A/B: Property                                                                    page 1
              Case 13-44045                   Doc 42            Filed 08/31/22 Entered 08/31/22 09:54:03                                       Desc Main
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Debtor 1       Sdahrie Howard                                                                                      Case number (if known)      13-44045
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

   No
   Yes


5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>              $11,000.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                 portion you own?
                                                                                                                                                 Do not deduct secured
                                                                                                                                                 claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
    Yes. Describe.....
                                   Furniture                                                                                                                   $500.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
    No
    Yes. Describe.....
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
    Yes. Describe.....
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
    No
    Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
    Yes. Describe.....
11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No
    Yes. Describe.....
                                   Clothes                                                                                                                     $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    No
    Yes. Describe.....
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
    No
    Yes. Describe.....
Official Form 106A/B                                                  Schedule A/B: Property                                                                      page 2
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Debtor 1          Sdahrie Howard                                                                                                  Case number (if known)   13-44045

14. Any other personal and household items you did not already list, including any health aids you did not list
    No
    Yes. Give specific information.....

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                                                   $900.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                                                  Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    No
    Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:


                                             17.1.       Checking                               Charter One                                                                   $6.18


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
    No
    Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
    No
    Yes. Give specific information about them...................
                                                 Name of entity:                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    No
    Yes. Give specific information about them
                                                 Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
    Yes. List each account separately.
                                             Type of account:                                   Institution name:

                                                                                                Pension                                                                 $28,000.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
    No
    Yes. .....................                                                                 Institution name or individual:




Official Form 106A/B                                                                     Schedule A/B: Property                                                               page 3
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Debtor 1       Sdahrie Howard                                                                        Case number (if known)     13-44045
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    No
    Yes.............      Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
    No
    Yes.............      Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
    No
    Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
    No
    Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    No
    Yes. Give specific information about them...
Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
    No
    Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    No
    Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
    No
    Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
    No
    Yes. Name the insurance company of each policy and list its value.
                                   Company name:                                            Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
    No
    Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
    No
    Yes. Describe each claim.........

Official Form 106A/B                                          Schedule A/B: Property                                                                    page 4
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Debtor 1         Sdahrie Howard                                                                                                        Case number (if known)   13-44045


                                                            Workers Compensation claim against Cook County
                                                            Department of Corrections                                                                                         Unknown


                                                            Debtor is party to class action against employer Cook County
                                                            and Cook County Sheriff's Office. Her possible award is not
                                                            property of her estate as any attributed award was post filing
                                                            to Chapter 7.                                                                                                         $0.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
    No
    Yes. Describe each claim.........
35. Any financial assets you did not already list
    No
    Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................                $28,006.18


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   No. Go to Part 6.
   Yes. Go to line 38.


Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
      No. Go to Part 7.
      Yes. Go to line 47.

Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
    No
    Yes. Give specific information.........

54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................                      $0.00
56. Part 2: Total vehicles, line 5                                                                           $11,000.00
57. Part 3: Total personal and household items, line 15                                                         $900.00
58. Part 4: Total financial assets, line 36                                                                  $28,006.18
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $39,906.18              Copy personal property total            $39,906.18

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $39,906.18

Official Form 106A/B                                                              Schedule A/B: Property                                                                           page 5
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Debtor 1     Sdahrie Howard                                        Case number (if known)   13-44045




Official Form 106A/B                      Schedule A/B: Property                                        page 6
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Fill in this information to identify your case:

Debtor 1                Sdahrie Howard
                        First Name                   Middle Name                  Last Name

Debtor 2
(Spouse if, filing)     First Name                   Middle Name                  Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF ILLINOIS

Case number           13-44045
(if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                          4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

      You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on     Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property             portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

     1999 Nissan Altima                                                                                                735 ILCS 5/12-1001(c)
     Line from Schedule A/B: 3.1
                                                               $2,000.00                                $2,000.00
                                                                                   100% of fair market value, up to
                                                                                    any applicable statutory limit

     Furniture                                                                                                         735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 6.1
                                                                   $500.00                                $500.00
                                                                                   100% of fair market value, up to
                                                                                    any applicable statutory limit

     Clothes                                                                                                           735 ILCS 5/12-1001(a)
     Line from Schedule A/B: 11.1
                                                                   $400.00                                $400.00
                                                                                   100% of fair market value, up to
                                                                                    any applicable statutory limit

     Checking: Charter One                                                                                             735 ILCS 5/12-1001(b)
     Line from Schedule A/B: 17.1
                                                                     $6.18                                   $6.18
                                                                                   100% of fair market value, up to
                                                                                    any applicable statutory limit

     Pension                                                                                                           735 ILCS 5/12-1006
     Line from Schedule A/B: 21.1
                                                              $28,000.00                                     100%
                                                                                   100% of fair market value, up to
                                                                                    any applicable statutory limit



Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                     page 1 of 2
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Debtor 1    Sdahrie Howard                                                                     Case number (if known)     13-44045
    Brief description of the property and line on    Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property            portion you own
                                                     Copy the value from    Check only one box for each exemption.
                                                     Schedule A/B

    Workers Compensation claim against                                                                                  820 ILCS 305/21
    Cook County Department of
                                                            Unknown                                        100%
    Corrections                                                                 100% of fair market value, up to
    Line from Schedule A/B: 33.1                                                 any applicable statutory limit

    Debtor is party to class action                                                                                     735 ILCS 5/12-1001(h)(1), 740
    against employer Cook County and
                                                                  $0.00                                    100%
                                                                                                                        ILCS 45/18
    Cook County Sheriff's Office. Her                                           100% of fair market value, up to
    possible award is not property of her                                        any applicable statutory limit
    estate as any attributed award was
    post filing to Chapter 7.
    Line from Schedule A/B: 33.2


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                No
                Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                       page 2 of 2
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Fill in this information to identify your case:

Debtor 1                    Sdahrie Howard
                            First Name            Middle Name              Last Name

Debtor 2
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number              13-44045
(if known)
                                                                                                                          Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                               12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


              No

              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X                                                                   X
             Sdahrie Howard                                                    Signature of Debtor 2
             Signature of Debtor 1

             Date       August 30, 2022                                        Date




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules




                                                                                           Doc ID: ac97613a357fc291776c3f023843b78b0f6e3ba5
